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 4
 5   Attorney for Defendant, IBRAHIM NAGEEB FAKHOURI
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 7
 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )        CASE NUMBER: CR-F-02-5288-OWW
                                                    )
11                          Plaintiff,              )
                                                    )        STIPULATION AND ORDER FOR A
12   v.                                             )        RESETTING OF THE SENTENCING
                                                    )        HEARING
13   IBRAHIM NAGEEB FAKHOURI,                       )
                                                    )
14                          Defendant.              )
                                                    )
15
16          IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and
17   the defendant by and through his attorney, that the date set for sentencing be continued from July 31,
18   2006 at 9:00 a.m. to September 11, 2006 at 9:00 a.m. for preparation by the government of Sentencing
19   Guideline section 5K1 and Sentencing Memorandum by defense counsel.
20          The parties also agree that any delay resulting from this continuance shall be excluded in the
21   interest of justice pursuant to 18 U.S.C. sections 3161(h)(1)(F), 3161(h)(8)(A) and 3161(h)(8)(B)(I).
22                                                        Respectfully submitted,
23
24   DATED: July 25, 2006                                 /s/ Salvatore Sciandra
                                                          SALVATORE SCIANDRA
25                                                        Attorney for Defendant,
                                                          IBRAHIM NAGEEB FAKHOURI
26
27   DATED: July 25, 2006                                 /s/ Karen Escobar
                                                          KAREN ESCOBAR
28                                                        Assistant United States Attorney
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 1                                                          Stipulation has been agreed to by Ms. Escobar
                                                            via telephone.
 2   ///
 3   ///
 4                                                  ORDER
 5   IT IS SO ORDERED.
 6   Dated: July 29, 2006                               /s/ Oliver W. Wanger
     emm0d6                                        UNITED STATES DISTRICT JUDGE
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     U.S. v. FAKHOURI
     STIPULATION AND ORDER FOR A RESETTING OF THE HEARING ON REPORT OF PROBATION OFFICER
     CASE NUMBER: CR-F-02-5288-REC                                                                      2
